       Case 1:18-cv-02921-JMF           Document 618         Filed 07/08/19       Page 1 of 2



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK




 STATE OF NEW YORK, et al.,                           No. 18-cv-2921

                                      Plaintiffs,     Hon. Jesse M. Furman
                                                      United States District Judge
                       v.
                                                      NOTICE OF MOTION TO
 UNITED STATES DEPARTMENT OF                          WITHDRAW AS COUNSEL
 COMMERCE, et al.,

                                    Defendants.


       PLEASE TAKE NOTICE that going forward Defendants the United States Department of

Commerce, Secretary Wilbur L. Ross, Jr., the Bureau of the Census, and Steven Dillingham,

Director of the U.S. Census Bureau will be represented in this matter by different counsel from the

Department of Justice. Because the Civil Division has been involved in litigating this case to date

and new attorneys from the Civil Division will be entering their appearances, Defendants do not

expect that withdrawal of current counsel will cause any disruption in this matter.

       Accordingly, pursuant to Local Rule 1.4, Defendants respectfully request that the Court

order the withdrawal of the following counsel and no longer send them docketing notifications via

the ECF system: Kate Bailey, James Burnham, Garrett Coyle, Stephen Ehrlich, Carol Federighi,

Joshua Gardner, John Griffiths, Martin Tomlinson, and Carlotta Wells. Defendants also ask that the

Court’s Order approve the withdrawal of Brett Shumate and Alice LaCour. Mr. Shumate no longer

works at the Department of Justice, and Ms. LaCour no longer is with the Department’s Civil

Division.

       None of the withdrawing counsel are retaining or charging a lien.
       Case 1:18-cv-02921-JMF   Document 618       Filed 07/08/19   Page 2 of 2



Dated: July 8, 2019                 Respectfully submitted,

                                    JOSEPH H. HUNT
                                    Assistant Attorney General

                                    DAVID M. MORRELL
                                    Deputy Assistant Attorney General

                                    /s/ Christopher A. Bates
                                    CHRISTOPHER A. BATES
                                    GLENN M. GIRDHARRY
                                    COLIN A. KISOR
                                    CHRISTOPHER R. REIMER
                                    DANIEL A. SCHIFFER
                                    Attorneys

                                    United States Department of Justice
                                    Civil Division
                                    950 Pennsylvania Ave., NW, Room 3141
                                    Washington, DC 20530
                                    Tel.: (202) 514-3301
                                    Email: christopher.a.bates@usdoj.gov

                                    Counsel for Defendants




                                       2
